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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

     In re:                                             Chapter 11
     BOY SCOUTS OF AMERICA AND                          Case No. 20-10343 (LSS)
     DELAWARE BSA, LLC, 1
                                                        (Jointly Administered)
                          Reorganized Debtors.

                  NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
               HEARING ON DECEMBER 20, 2023, AT 2:00 P.M. EASTERN TIME

This hearing will be conducted in-person. Any exceptions must be approved by chambers.

Parties may observe the hearing remotely by registering with the Zoom link below no later
                  than December 20, 2023, at 8:00 a.m. Eastern Time.

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.

                      Please use the following link to register for this hearing:

       https://debuscourts.zoomgov.com/meeting/register/vJIscu2tqz8qH-rfoeau-cjsZ-F_FofD9wc

        After registering your appearance by Zoom, you will receive a confirmation email
                        containing information about joining the hearing.

                                     Topic: Boy Scouts of America

              Time: December 20, 2023, at 2:00 p.m. Eastern Time (US and Canada)


ADJOURNED MATTER:

1.        Motion (I) to Allow Substantial Contribution Claim of the Roman Catholic Ad Hoc
          Committee and (II) for Waiver of Certain Requirements of Local Rule 2016-2 (D.I. 10815,
          filed 12/29/22).

          Objection Deadline: January 12, 2023, at 4:00 p.m. (ET); extended to January 31, 2023,
          for the Lujan Claimants and the Office of the United States Trustee.




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      The Reorganized Debtors in the chapter 11 cases, together with the last four digits of each Reorganized
      Debtor’s federal tax identification number, are as follows: Boy Scouts of America (6300) and Delaware
      BSA, LLC (4311). The Reorganized Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving,
      Texas 75038.
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     Responses Received:

     a)     Lujan Claimants’ Limited Objection and Joinder in U.S. Trustee’s Objection to
            Motion (I) to Allow Substantial Contribution Claim of the Roman Catholic Ad Hoc
            Committee and (II) for Waiver of Certain Requirements of Local Rule 2016-2, and
            Reservation of Rights (D.I. 10942, filed 01/31/23); and

     b)     United States Trustee’s Omnibus Objection to Payment of Compensation and
            Reimbursement of Expenses for Movants filed December 29, 2022 (D.I. 10944,
            filed 01/31/23).

     Related Pleadings:    None.

     Status: The parties have agreed to adjourn this matter to a hearing on a date to be
     determined.

MATTERS GOING FORWARD:

2.   [SEALED] Letter to Court Regarding Claim No. 51247 (D.I. 11628, filed 11/17/23).

     Responses Received: None.

     Related Pleadings:

     a)     [REDACTED] Letter to Court Regarding Claim No. 51247 (D.I. 11629, filed
            11/17/23); and

     b)     Notice of Motion of Claimant D.J.P. to Resubmit Claim No. 51247 (D.I. 11680,
            filed 12/15/23.

     Status: This matter is going forward.



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Dated: December 18, 2023           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                   ATTORNEYS FOR THE REORGANIZED
                                   DEBTORS




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